Case 3:25-cr-00110-PDW Document 63 Filed 05/20/25 Page1of1

Case 3:25-cr-00110-PDW *SEALED* Document3 Filed 05/14/25 Page 1 of 2

AO 442 (Rev. 11/11) Arrest Warrant

-ep ugus-Fagco.No UNITED STATES DISTRICT COURT
REY MAY 14 Pva:5T fnseaice

District of North Dakota

United States of America

v. )
Ricardo JAQUEZ ) Case No, 3:25-cr-110-1

)

)

)

)

Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Ricardo JAQUEZ ;
who is accused of an offense or violation based on the following document filed with the court:
W Indictment 1 Superseding Indictment Information O Superseding Information © Complaint

1 Probation Violation Petition O Supervised Release Violation Petition MViolation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to Possess with Intent to Distribute and Distribute a Controlled Substance

Date: 05/14/2025 /s/Sarah Lien

Issuing officer's signature

City and state: Fargo, ND Sarah Lien, Deputy Clerk

Printed name and title

Return

This warrant was received on (date) S- }- iS , and the person was arrested on (date) S “IS “a5.
at (city and state) (oukks / PD :

Date: 5- (6-26 (2-2 gre
ArfeSting officer's signature

mt hyn: ed nanie and title

